                            Case 4:16-cr-00162-BSM                      Document 98             Filed 11/26/18          Page 1 of 8
AO 245B (Rev. 02/18)       Judgment in a Criminal Case
                                                                                                                                     FILED
                                                                                                                                 U.S. DISTRICT COURT
                           Sheet 1                                                                                           EASTERN DISTRICT ARKANSAS



                                                UNITED STATES DISTRICT COURT
                                                                                                                      JAMESW.                         I   CLERK
                                                                   Eastern District of Arkansas             By: ___,.....,,.,~----~_,=,..,..,.'="'""
                                                                                )
                 UNITED STATES OF AMERICA                                       )      JUDGMENT IN A CRIMIN
                                         v.                                     )
                                                                                )
                          NINA SUE WILLIAMS                                            Case Number: 4:16CR00162-003 BSM
                                                                                )
                                                                                )      USM Number: #25412-009
                                                                                )
                                                                                )       Mark Alan Jesse
                                                                                )      Defendant's Attorney
THE DEFENDANT:
Ill' pleaded guilty to count(s)               8 and 13 of the Second Superseding Indictment

D pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                            Offense Ended                Count
.-I-18-U-.S-.~C-.-1b-0-1-(a_}_(2_}_   _,,._F_a_ls_e_S-ta-t-em-en-t-to-th_e_l_nt_e_rn_a_l_R_e_ve.,...n_u_e_S_e_rv-ice-----~..,-2-/3-/2_0_1_2_ _ _ _....,I ~[8_ _ _~

  26 U.S.C. 7203                          Willful Failure to File Return                                              2/3/2012                     13



       The defendant is sentenced as provided in pages 2 through                    8
                                                                                  - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill' Count(s)         1, 6-7, 9-10, 16, 19, 22, 25
                   -'----'----'---'--~--'----
                                                                 D is      liZI' are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 <Jays of any- change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in econonuc circumstances.

                                                                                   11/26/2018
                                                                                  Date of Imposition of Judgme()         n n
                                                                               - h~~ ~
                                                                                  Signature of Judge




                                                                                   Brian S. Miller, U.S. District Judge
                                                                                  Name and Title of Judge



                                                                                  Date
                       Case 4:16-cr-00162-BSM                Document 98           Filed 11/26/18         Page 2 of 8
AO 245B (Rev. 02/18) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                                     2_ of
                                                                                                     Judgment-Page _ _       8
 DEFENDANT: NINA SUE WILLIAMS
 CASE NUMBER: 4:16CR00162-003 BSM

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  21 months as to Count 8 and 3 months as to Count 13 for a total of 24 months.




     liZI The court makes the following recommendations to the Bureau of Prisons:
  It is recommended that the defendant participate in vocational programs during incarceration. It is recommended that
  placement be in FCI Aliceville, AL.


     liZI The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at     - - - - - - - - - D a.m.                  D p.m.      on

            D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                          By---------------------
                                                                                              DEPUTY UNITED STATES MARSHAL
                      Case 4:16-cr-00162-BSM                Document 98           Filed 11/26/18          Page 3 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     3    of        8
DEFENDANT: NINA SUE WILLIAMS
CASE NUMBER: 4:16CR00162-003 BSM
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 2 years.




                                                     MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    • You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3A - Supervised Release
                                                                                               Judgment-Page _ _4'---_ of ------"-8___
DEFENDANT: NINA SUE WILLIAMS
CASE NUMBER: 4:16CR00162-003 BSM

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date _ _ _ _ _ _ _ _ _ __
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3B - Supervised Release
                                                                                          Judgment-Page    5    of       8
DEFENDANT: NINA SUE WILLIAMS
CASE NUMBER: 4:16CR00162-003 BSM

                                    ADDITIONAL SUPERVISED RELEASE TERMS
14) The defendant must provide the probation officer with access to any requested financial information and authorize the
release of any financial information. The probation office may share financial information with the U.S. Attorney's Office.

15) The defendant must not incur new credit charges or open additional lines of credit without the approval of the probation
officer unless all criminal penalties have been satisfied.

16) Pursuant to 12 U.S.C. 1785 and 1829, the defendant shall not obtain employment in an institution insured by FDIC or a
Federal Credit Union without written permission.

17) The defendant must provide documentation to the IRS and pay taxes.

18) Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant must pay restitution in the amount of
$103,201 to the U.S. District Clerk. Restitution will be disbursed to Internal Revenue Service at IRS-RACS, Attn; Mail Stop
6261, Restitution, 333 W. Pershing Ave., Kansas City, MO 64108. Restitution is due immediately. During incarceation, the
defendant must pay 50 percent per month of all funds available to her towards restitution. Beginning the first month of
supervised release, payments will be 10 percent per month of defendant's monthly gross income per month. Restitution will
be joint and several with any other person who has been or will be convicted of an offense for which restitution to the same
victim on the same loss is ordered. Interest is waived.
                      Case 4:16-cr-00162-BSM                           Document 98                 Filed 11/26/18                Page 6 of 8
 AO 245B(Rev. 02/18) Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                                                             Judgment-Page - ~ - of
DEFENDANT: NINA SUE WILLIAMS
CASE NUMBER: 4:16CR00162-003 BSM

                                             SPECIAL CONDITIONS OF SUPERVISION

             The defendant shall dlSCloae financial lnfonnatlon upon request of the U.S. Probation Office, Including, but not limited to,
             loans, lines of credit, and tax retums. This also lnclud&II) records of any business with which the defendant la associated.

             No new lines of credit shall be eatabliahed without prior approval of the U.S. Probation Offlca until all criminal penaltlea
             have been satisfied.

             The defendant shall not transfer, sell, give away, or otherwise convey any aaaat without prior approval of the U.S.
             Probation Office.

             The defendant ahall not act 88 a federal tax return preparer or request, assist In or direct the preparation or filing of federal
             tax returns or other forms or documents for any person or entity other than herself or appear as a representative on behalf
             of any person or organization who8e tax UabUltlea are under examination by the IRS.

             The defendant shall not prepare, file or assist In the preparation of filing of tax returns for others that the defendant knows
             wlU result In the understatement of any tax liability.

             The defendant shall not understate customers' tax llabllitles 88 subject to penalty under Internal Revenue Code § 6694.

             The defendant shaU not Instruct or advise tax payers to understate their federal tax llabllltlea.

             The defendant shall not engaga In any other activities subject to penalty under Internal Revenue Coda § 6694.

             The defendant shall not engage In any activity subject to penalty under Internal Revenue Code Code § 6695.

             The defendant shall not engage In any other conduct that aubBtantially Interferes with proper administration and
             enforcement of the Internal Revenue laws.
                        Case 4:16-cr-00162-BSM                     Document 98               Filed 11/26/18            Page 7 of 8
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment-Page -~?_ of                8
 DEFENDANT: NINA SUE WILLIAMS
 CASE NUMBER: 4:16CR00162-003 BSM
                                               CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                   JVTA Assessment*                                                Restitution
 TOTALS             $ 125.00                     $                                    $                            $ 103,201.00



 D The determination ofrestitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.a~ent, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                          Total Loss**                   Restitution Ordered         Priority or Percentage
._Il_nt_er_na_l_Re_v_,en_u_e_Se_rv_ice
                                   _ _ _ _ ____.l ._I_ _ _ _ _ _.....,I I                                      $103,201.00 j ._I_ _ _ _ _ _]__.



                                                                                                  II                         11


                                                                                                  II                         I[

                                                                                                  11                         11


                                                                                                  II                         11


                                                                                                  II                         11

TOTALS                               $ _ _ _ _ _ _ _ 0.00
                                                     __                           s                     103,201.00


 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 l!Z1   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         ~ the interest requirement is waived for the          D       fine   l!Z1 restitution.
         D the interest requirement for the          D fine        •     restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                      Case 4:16-cr-00162-BSM                  Document 98            Filed 11/26/18           Page 8 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments

                                                                                                          Judgment-Page       8      of       8
DEFENDANT: NINA SUE WILLIAMS
CASE NUMBER: 4:16CR00162-003 BSM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     it} Lump sum payment of$           103,326.00          due immediately, balance due

             D    not later than                                 , or
             D    in accordance with DC,          D    D,    D    E,or      D Fbelow;or

B     D      Payment to begin immediately (may be combined with          DC,          DD,or        D F below); or

C     D      Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ over a period of
            _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D     D      Payment in equal     _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ over a period of
            _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     it}    Special instructions regarding the payment of criminal monetary penalties:

              Pursuant to Mandatory Victims Restitution Act of 1996, $103,201 restitution due to U.S. District Clerk to be
              disbursed to IRS at IRS-RACS, Attn: Mail Stop 6261, Restitution, 333 W. Pershing Ave., Kansas City, MO 64108.
              Due immediately. During incarceration deft to pay 50% per mo. of all funds available towards restitution. Beginning
              1st mo. of supervised release, payments to be 10% per mo. of deft's mo. gross income per mo. Joint & several w/
              any person who has been or will be convicted of offense which restitution to the same victim on same loss ordered
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!m'Y penalties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
